                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                              CASE NO.: 3:06CR381

UNITED STATES OF AMERICA,                 )
          Plaintiff,                      )
vs.                                       )
                                          )
GUILLERMO CORRAL,                         )
            Defendant.                    )
                                          )
_________________________________________ )

                                ORDER GRANTING
                          MOTION TO APPEAR PRO HAC VICE

       THIS MATTER IS BEFORE THE COURT on Ray Velarde’s Application for Admission

Pro Hac Vice. It appearing that Ray Velarde is a member in good standing with the Texas State Bar,

the Court enters the following Order:

       IT IS, THEREFORE, ORDERED that

       (1)     Ray Velarde’s Application for Admission Pro Hac Vice is GRANTED; and

       (2)     Ray Velarde remit to the Clerk the required special admission fee of $100.00, if such

               fee has not already been paid.



                                                 Signed: October 31, 2006




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